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 8                                  UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10    Nic Dahlquist, individually and on         CASE NO. 5:22-cv-00402-JWH(SPx)
      behalf of all others similarly situated,
11                                               ORDER GRANTING STIPULATION RE:
                       Plaintiff,                SAMSUNG ELECTRONICS AMERICA,
12                                               INC.’S RESPONSE TO PLAINTIFF’S
      v.                                         FIRST AMENDED COMPLAINT
13
      Samsung Electronics America, Inc.,
14                                               Assigned to Hon. John W. Holcomb
                       Defendant.                Action filed March 4, 2022
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